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Case 1:03-cV-06744-OWW-DLB Document 36 Filed 04/15/05 Page 1 of 10

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Attomeys for Defendant
The Connecticut Indemnity Company

UNITED STATES DISTRICT COURT

EASTERN DlSTRICT OF CALIFORNIA

LION RAISINS, INC.,
Piaintiffs,
vS.
THE CONNECTICUT INDEMNITY
COMPANY, a Subsidiary of ROYAL & SUN
ALLlANCE, AND DOES 1 through 10,

inclusive,

Defendants.

 

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CASE NO.: CIV-F-03-6744

Discovery motions to be heard by
Hon. Dennis L. Beok, Chief U.S. Magistrate
Judge

DISCOVERY MATTER- DEFENDANT
C()NNECTICUT INDEMNITY
COMPANY’S NOTICE OF M()TI()N AND
MOTION TO COMPEL RESPONSES TO
DEFENDANT’S REQUESTS FOR
PRODUCTION AND VERIFIED
RESPONSES TO DEFENDANT’S
INTERROGATORIES; REQUEST FOR
SANCTIONS

[Fed. R. Civ. Proo. 33, 34; L.R. 37-251]

[Filed concurrently With Declaration of
Spenoer Y. Kook and exhibits thereto]

Date: May 13, 2005
Time: 9:00 a.rn.
Crtrrn: 5

Complaint Filed: Feb. 26, 2004

 

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Case 1:03-cv-06744-OWW-DLB Document 36 Filed 04/15/05 Page 2 of 10
TO PLAINTIFF LION RAISINS, INC. AND ITS ATTORNEY OF RECORD:

PLEASE TAKE NOTICE that on l\/lay l3, 2005 at 9:00 a.rn., or as Soon thereafter as the
matter may be heard in Courtroorn 5 of the above-entitled Court, Defendant Connecticut lndemnity
Company (“CIC”) Will move this Court for an order compelling Plaintiff to respond to ClC’s First
Set of Requests for Production and to provide verified responses to ClC’s First Set of
lnterrogatories. Pursuant to Federal Rules of Civil Procedure 37(a)(4)(A), CIC also moves for an
order that Plaintiff pay ClC the sum of $ 2705.00 as the reasonable costs and attorneys’ fees

incurred by CIC in connection With this proceeding

This Motion is made following counsel for ClC’s letter to counsel for Plaintiff requesting
responses pursuant to Local Rule 37-251. Pursuant to Local Rule 37-251(e), a joint statement
regarding the discovery disagreement is not required, as Plaintiff has failed to respond to CIC’s

Requests for Production and has failed to provide a verification to CIC’s lnterrogatories.

This l\/lotion is based upon this Notice, the accompanying l\/lernorandum of Law, the
supporting declaration of Spencer Y. Kook, the pleadings, records and files herein, and upon such

other oral or documentary evidence as may be presented at the hearing of this Motion.

Dated: April 15, 2005 BARGER & WOLEN LLP

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SPE ER Y. KOOK

Attorneys for Defendant The Connecticut
Indemnity Company

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Case 1:03-cv-06744-OWW-DLB Document 36 Filed 04/15/05 Page 3 of 10
MEMORANDUM OF LAW

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l . INTRODUCTION
This motion is the result of Plaintiff Lion Raisins, Inc. (“Plaintiff’) continued delay in
providing a complete response to CIC’s first set of discovery requests On C)ctober 29, 2004, CIC
served Plaintiff With Requests for Production of Documents and lnterrogatories seeking information
regarding the allegations in Plaintiff s Complaint. Plaintiff belatedly provided documents in
response to the Requests for Production. However, Plaintiff refused to provide a formal Written
response to the document request Without Written responses, CIC has no Way of determining

Whether Plaintiff has in fact complied With ClC’s requests

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ln addition, Plaintiff has failed to verify under oath its answers to ClC’s lnterrogaton`es.
1 1 The lack of verification makes Plaintiff s responses practically useless. For two months ClC has
12 repeatedly requested that Plaintiff provide this verification as Well as Written responses to it
13 Requests for Production. The trial in this matter is approaching and Plaintiff’ s continued delay is
14 unacceptable CIC asks that this Court put an end to Plaintiff s delay tactics and order that Plaintiff
15 provide Written responses to ClC’s Requests for Production and verified responses to ClC’s
16 Interrogatories. Due to Plaintiff s failure to comply With the discovery provisions of the Federal
17 Rules of Civil Procedure, ClC also requests that the Court order Plaintiff to pay CIC for the

18 attorneys’ fees and costs incurred in connection With this l\/lotion.

 

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20 2. STATEMENT OF FACTS
21 This litigation arises out of a Workers’ compensation policy issued to Plaintiff by CIC.

22 Plainti ff is a large raisin processor doing business Within the County of Fresno, California. Plaintiff
23 alleges that ClC negligently handled Workers’ compensation claims made under the policy. (First
24 Aniended Complaint (“FAC”), 1111 21~22.) Plaintiff further contends that CIC failed to properly

25 discharge certain requirements regarding the execution and filing of audit reports submitted to the
26 Workers’ Compensation lnsurance Rating Bureau. (FAC, 1111 23-24.) Plainti ff claims that as a

27 result of CiC`s conduct, its Workers7 compensation premiums rose unnecessarily (FAC, l 24.)

28 Based upon the foregoing allegations, Plaintiff claims causes of action for breach of contract,

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Case 1:03-cv-06744-OWW-DLB Document 36 Filed 04/15/05 Page 4 of 10

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negligence, intentional misrepresentation and negligent misrepresentation and claims damages in
excess of one million dollars (FAC, 1111 27-38.)

On October 29, 2004, CIC served its First Set of Requests for Production of Documents
and lnterrogatories on Plaintiff via United States mail. Declaration of Spencer Y. Kook (“Kook
Decl.”), 11 2~3 and Exhibits “A” and B” thereto. Plaintiff failed to serve timely responses to these
requests (Kook Decl., 11 4.) It was not until CIC filed a motion to compel responses that Plaintiff
provided anything to CIC in response to the discovery requests (Kook Decl., 11 4.) Specifically, in
January 2005 , Plaintiff belatedly provided ClC certain documents that were purportedly responsive

to ClC’s Requests for Production. (Kook Decl., 11 4.) Plaintiff also provided written responses to

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ClC’s lnterrogatories. (Kook Decl., 11 5.) However, Plaintiff failed to provide written responses to

1 1 the Requests for Production and failed to provide a sworn verification to its interrogatory responses
12 (Kook Decl.,1111 4-5.)

13 Counsel for ClC contacted counsel for Plaintiff on numerous occasions via telephone to
14 inform Plainti ff that ClC had not received written responses to its Requests for Production or a

15 verification for the interrogatory responses (Kook Decl., 11 6.) On April ll, 2004, counsel for ClC
16 sent counsel for Plaintiff a letter via facsimile reiterating CIC’s request for the written responses and
17 verification and notifying Plaintiff that if it failed to respond to the letter, ClC would be compelled
18 to bring the matter before the Court. (Kook Decl., 11 7 and Exhibit “D” thereto.) To date, Plaintiff

19 has not responded to this letter. (Kook Decl. , 11 5.)

 

 

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21 3. CIC’S MOTION IS BROUGHT FOLL()WING PLAINTIFF’S TOTAL

22 REFUSAL TO RESPOND T() CIC’S DISCOVERY REOUESTS

23 Pursuant to Local Rule 37-251(e), a Joint Statement re Discovery Disagreement is not

24 required for CIC’s motion due to Plaintiff" s failure to provide a response to the Requests for
25 Production or to provide verified responses to CIC’s lnterrogatories. L.R. 37-251(€) and Author

26 Commentary to L.R. 27-251. Although there are no discovery issues concerning the specific,

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individual discovery requests, for the convenience of the Court, ClC s Requests for Production are

28 set forth below in their entirety.

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Case 1:03-cv-06744-OWW-DLB Document 36 Filed 04/15/05 Page 5 of 10

ClC’S REQUESTS FOR PRODUCTION

REOUEST FOR PRODUCTION NO. 1
All DOCUMENTS that RELATE TO the factual allegations in the COMPLAINT.

REOUEST FOR PRODUCTION N(). 2
All DOCUMENTS that RELATE TO any COMMUNICATIONS between YOU and
DEFENDANT.

REOUEST FOR PRODUCTION NO. 3
All DOCUl\/IENTS that RELATE TO the sixteen (l6) claims that YOU contend were
“out of control” in paragraph 22 of the AMENDED COMPLAINT.

REOUEST FOR PRODUCTION NO. 4
All DOCUMENTS that RELATE TO all workers compensation claims that were handled
by DEFENDANT.

REOUEST FOR PRODUCTION NO. 5
All DOCUMENTS that RELATE TO YOUR contention, as set forth in paragraph 22 of
the COMPLAINT, that “Defendant was not enforcing the laws and the procedures and its contract

obligations with Plaintiff.”

REOUEST FOR PRODUCTION NO. 6
All DOCUMENTS that RELATE TO YOUR allegations in paragraphs 23, 24, 25, and 26

of the Al\/IENDED COMPLAINT concerning the handling and reporting of audits to the WCIRB.

 

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Case 1:03-cv-06744-OWW-DLB Document 36 Filed 04/15/05 Page 6 of 10
REOUEST FOR PRODUCTION NO. 7

All DOCUl\/.[ENTS that RELATE TG YOUR contention, as set forth in paragraph 26 of
the COl\/IPLAINT, that “This conduct of Defendant also caused Plaintiffs X-mod premium for 2003

to increase over $500,000.00.”

REQUEST FOR PRODUCTION NO. 8

All DOCUl\/IENTS that RELATE TO YOUR contention, as set forth in paragraph 30 of
the COMPLAINT, that “Plaintiff performed all conditions, covenants and promises required on its
part to be performed in accordance with the terms and conditions of the written contract with the

Defendant.”

REOUEST FOR PRODUCTION NO. 9
All DOCUMENTS that RELATE TO YOUR contention, as set forth in paragraphs 30,
33, 36 and 38 of the AMENDED COMPLAlNT, that Plaintiff suffered damage ”in excess of one

million dollars.”

REOUEST FOR PRODUCTION NO. 10
All DOCUl\/IENTS that RELATE TO the policy entered into on or about Jan. 1, 2000
with DEFENDANT, as described in paragraph 10 of the AMENDED COl\/IPLAINT.

REQUEST FOR PRODUCTION NO. 11
All DOCUl\/IENTS that RELATE TO COl\/ll\/IUNICATIONS between YOU and Cibus
lnsurance Company that RELATE TO DEFENDANT.

REQUEST FOR PRODUCTION NO. 12

All DOCUMENTS that RELATE TO COMMUNICATIONS between YOU and Cibus
insurance Company that RELATE TO the policy entered into on or about Jan. 1, 2000 with
DEFENDANT, as described in paragraph 10 of the Al\/lENDED COMPLAINT.

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Case 1:03-cv-06744-OWW-DLB Document 36 Filed 04/15/05 Page 7 of 10
REOUEST FOR PRODUCTION NO. 13

All DOCUMENTS that RELATE TO COMMUNICATIONS between YOU and Cibus
Insurance Company that RELATE TO claims made under the policy entered into on or about Jan. 1,

2000 with DEFENDANT, as described in paragraph 10 of the AMENDED COMPLAINT.

REOUEST FOR PRODUCTION NO. 14
All DOCUMENTS that RELATE claims made under the policy entered into on or about
Jan. 1, 2000 with DEFENDANT, as described in paragraph 10 of the Al\/IENDED COMPLAINT.

REOUEST FOR PRODUCTION NO. 15
All DOCUMENTS that RELATE TO audit reports concerning YOU from the year 2000

to the present.

REOUEST FOR PRODUCTION NO. 16
All DOCUMENTS that RELATE TO YOUR experience modification from the year

2000 to the present

4. PLAINTIFF MUST PROVIDE WRITTEN RESPONSES TO CIC’S
REOUESTS FOR PRO])UCTION
The purpose of discovery is “to remove surprise from trial preparation so the parties can

obtain evidence necessary to evaluate and resolve their di spute.” Oakes v. Halvorsen Marien Ltd.,
179 F.R.D. 281, 283 (C.D. Cal. 1998). To that end, Federal Rule of Civil Procedure 34(b) provides:

The party upon whom the request is served shall serve a written

response within 30 days after service of the request. . ..The response

shall state, with respect to each item or category, that inspection and

related activities will be permitted as requested, unless the request is

objected to, in which event the reasons for the objection shall be stated

 

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Case 1:03-cv-06744-OWW-DLB Document 36 Filed 04/15/05 Page 8 of 10
(Emphasis added.) A formal, written response, signed by the party’s attorney, must be provided to

satisfy the requirements of Rule 34. City of New York v. Permanent Missiori of Ihdia to the United
Nazions, 2004 U.S. Dist. LEXIS 23 860 at *18 (S.D. N.Y Nov. 23, 2004). “[I]nforrnal
representations[by counsel] are not an adequate substitute.” ld.

Without a written response, ClC has no way of determining which documents Plaintiff
has chosen to produce and which documents have not been produced Moreover, without written
responses, it cannot determine whether Plaintiff has provided all responsive documents within its
possession, custody and control of whether they are refusing to produce documents because of
privilege The latter point is critical given the fact that Plaintiff failed to timely respond to ClC’s
discovery requests and, therefore, have waived their obj ections. Rz`chmark Corp. v. Timber F ailing
Consultants, 959 F.2d 1468, 1473 (9th Cir. 1992). ClC has attempted in good faith to meet and
confer with Plaintiff iri order to obtain responses without having to go to the Court. Fed. R. Civ.
Proc. 37(a)(2)(B). However, to date, Plaintiff has also failed to respond to ClC’s communications

ClC’s motion is straightforward CIC simply asks the Court to compel Plaintiff to adhere
to the discovery rules set forth in the Federal Rules of Civil Procedure. For each and every category
of documents requested in the Requests for Production, CIC asks that the Court order Plainti ff to do
the following: (1) provide a formal written response to the request, without objection; (2) indicate
whether or not Plaintiff has within its possession or control any documents responsive to that

request; and (3) provide a written explanation if certain documents have been lost or destroyed

5. PLAINTIFF MUST PROVIDE A VERIFICATION TO ITS RESPONSES T()
CIC’S INTER()GATORIES
Federal Rule of Civil Procedure 33(b) provides that “each interrogatory shall be answered
separately and fully in writing under oath.” (Emphasis added.) The interrogatory procedure under
Rule 33 is intended to permit parties to ascertain facts, procure evidence and obtain admissions

from their adversary, thereby limiting the matters in dispute to avoid the unnecessary appearance of

d the court Drum v. Torzawaha'a, 13 F.R.D. 317, 319

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ste of time of the parties ai
(W.D. N.Y. 1952). Consequently, a party responding to interrogatories must provide a sworn

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Case 1:03-cv-06744-OWW-DLB Document 36 Filed 04/15/05 Page 9 of 10
statement verifying the truthfulness of the responses See Laymah v. Cc)mbs, 1988 U.S. Dist.

LEXIS 18517 at *4 (N.D. Cal. 1988) (ordering that responding party “must attest under penalty of
perjury that the information provided is true and correct of their own personal knowledge except as
to matters therein stated to be alleged on information and belief, and as to those matters, they
believe them to be true”).

As with the responses to the Requests for Production, CIC has attempted in good faith to
meet and confer with Plaintiff to attempt to obtain a sworn verification without having to go to the
Court. Fed. R. Civ. Proc. 37(a)(2)(B). Plaintiff has failed to respond to CIC’s numerous requests
Accordingly, CIC asks to Court to order Plaintiff to verify its responses to CIC’s interrogatories and
to update their responses to include information in its possession as of the date the verifications are

signed Layman, supra at * 4.

6. PLAINTIFF IS SUBJECT T() SANCTIONS FOR FAILURE TO RESPOND
TO CIC’S REOUESTS FOR PRODUCTION

A party who fails to provide a written response to a request for production is subject to
sanctions even in the absence of a prior order. F ed R. Civ. Proc. 37(d); Hilao v. Estaze ofMarcos,
103 F.3d 762, 764-65 (9tli Cir. 1996). Moreover, the fact that any of ClC’s requests might have
been objectionable does not excuse Plaintiff’ s failure to respond Fed. R. Civ. Proc. 37(d); see also
Badalamenii v. Danham ’s, Inc., 896 F.2d 1359, 1362 (Fed. Cir. 1990). By reason of Plaintiffs
failure to comply with ClC’s discovery requests, ClC has incurred costs and attorneys’ fees in the
amount of $1205.00 and expects to incur an additional $1500.00 in drafting a reply and appearing
for argument on this motion. These expenses are fully detailed in the Kook Declaration at
paragraphs 6-8. CIC requests that the Court award CIC its costs and fees incurred as this motion
was substantially justified and there is no genuine dispute as to Plaintiff’ s obligation to respond to

these discovery requests Fed R. Civ. Proc. 37(a)(4).

 

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Case 1:03-cv-06744-OWW-DLB Document 36 Filed 04/15/05 Page 10 of 10
7. Mi_<)_s

Based on the foregoing, ClC respectfully requests that the Court grant its Motion.

Dated: April 15, 2005 BARGER & WOLEN LLP

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SPENC Y KOOK

Attorneys for Defendant The Connecticut
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By:

 

 

 

 

